      Case 3:07-cv-05944-JST Document 4541 Filed 04/04/16 Page 1 of 2



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15                                UNITED STATES DISTRICT COURT

16                             NORTHERN DISTRICT OF CALIFORNIA

17                                      SAN FRANCISCO DIVISION

18

19   IN RE: CATHODE RAY TUBE (CRT)                     Master File Case No. 3:07-cv-05944-JST
     ANTITRUST LITIGATION
20                                                     MDL NO. 1917
21   This Document Relates to:                         Individual Case No. 3:13-cv-05723-JST
22          Case No. 3:13-cv-05723-JST
                                                       [PROPOSED] ORDER OF DISMISSAL
23   COSTCO WHOLESALE CORPORATION,                     WITH PREJUDICE
24                         Plaintiff,
25                 v.
26   TECHNICOLOR SA, et al.,
27                         Defendants.
28

     [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
     Master File Case No. 3:07-cv-05944-JST; MDL No. 1917
       Case 3:07-cv-05944-JST Document 4541 Filed 04/04/16 Page 2 of 2



 1            The Court, having considered the stipulation of the parties, and good cause appearing,

 2   orders as follows:

 3            1. The action filed by Costco Wholesale Corporation is dismissed with prejudice as

 4                 against Defendants Mitsubishi Electric Corporation, Mitsubishi Electric Visual

 5                 Solutions America, Inc., and Mitsubishi Electric & Electronics USA, Inc.

 6            2. This dismissal does not affect the rights or claims of Costco against any other

 7                 defendant in this litigation.

 8            3. Each party shall bear its own costs and attorneys’ fees.
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10            IT IS SO ORDERED.                                 TA




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12   DATED: April 4, 2016                                      IT IS S




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                                                         The Honorable Jon S. Tigar
13                                                       United States District Judge
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     [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
     Master File Case No. 3:07-cv-05944-JST; MDL No. 1917
